           AO 441   SllDltnons in a Civil Action                                                                                          (Page 2)



                Civil Action No. 24-cv-0546-H-BLM                                                     Date Issued:       6/20/24
                                                                                                                       --- ----
                                                                 PROOF OF SERVICE
                                 (This section should not be.filed with the court unless required by Fed. R. Civ. P. 4(1))

                         This summons for (name of individual and title, if any) _N_u_t_ra_H
                                                                                           _ ol_d_in-=g:...-s_,I_n_c._ _ _ _ _ _ _ __
                                               _ 12_7_12_0_2_4 _ _ _ _ __
               was !eceived by me on (date) __06
                         I personally served the summons on the individual at (place)
                         _ _ _ _ _ __ _ _ __                                _ _ __ _ _ on(date) :.fu{f°                L/24?..f';or
                         I left the summons at the individual's residence or place of abode with (name)        J ~ c... ~c. ( W r.4( e
                         - - - - - - - - -- - -- - ' a person of suitable age and discretion who resides there,
                         on (date) - - - - - - -- ' and mailed a copy to the individual's last known address; or
                         l served the summons on (name of the illdividual)                                                     , who is

                         designated by law to accept service of process on behalf of (name ~forganization) Nutra Holdings, Inc.


                         I returned the summons unexecuted because _ _ __ _ _ _ _ __ _ _ _ _ _ _ _ _ ; or

                         Other (specify):


                         My fees are $ _ _ __ _                 for travel and $   270.00                                     270 00


                                                                                             :"L [
                                                                                              for services, for a total of$      ·

                         I declare      u:r        penalty of perjury that this infonnallj                     ~
               Date:
                          ~         i          I '2-o?                                            Server's Signature

                             I ~ 1---'---J\                                                      William Earle
                                                                                                Printed name and title
                                                                                                                          /
                                    HARRY G. MUGFORD
                                            Barrister, NL
                                                                            :S'3= f(t;W~ IJtM 1 (\t . ~~\ - , N L-
                                                                                                   Server's addre,             f
.,
     ·,,                     NOTICE OF RJQHT TO CONSENT TO TRIAL BY A UNITED STATES MAGISTRATE JUDGE
               fN ACCORDANCE WITH THE PROVISION OF 28 use 636(C) YOU ARE HEREBY NOTiFIED THAT A U.S.
               MAGISTRATE JUDGE OF THIS DISTRICT MAY, UPON CONSENT OF ALL PARTIES, CONDUCT ANY OR
               ALL PROCEEDINGS, INCLUDING A JURY OR NON-JURY TRIAL, AND ORDER THE ENTRY OF A FINAL
               JUDGMENT.

               YOU EHOULD BE AWARE THAT YOUR DECISION TO CONSENT OR NOT CONSENT IS ENTIRELY
               VOLUNTARY AND SHOULD BE COMMUNICATED SOLELY TO THE CLERK OF COURT. ONLY IF ALL
               PARTIES CONSENT WlLL THE JUDGE OR MAGISTRATE JUDGE WHOM THE CASE HAS BEEN ASSIGNED
               BE INFORMED OF YOUR DECISION .

               JUDGMENTS OF THE U.S. MAGISTRATE JUDGES ARE APPEALABLE TO   U.S. COURT OF APPEALS IN  nrn
               ACCORDANCE WITH THlS STATUTE AND THE FEDERAL RULES OF APPELLATE PROCEDURE.
